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   IT IS ORDERED as set forth below:



   Date: May 23, 2023
                                                          _________________________________

                                                                     Sage M. Sigler
                                                              U.S. Bankruptcy Court Judge

  ________________________________________________________________



                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

In re:                                    |    CASE NUMBER:
                                          |
ANTHONY CARVER MCCLARN ,                  |    14-75160-SMS
                                          |
            Debtor,                       |    Chapter 13
_________________________________________ |
                                          |
ANTHNY CARVER MCCLARN,                    | ADVERSARY PROCEEDING NO:
                                          |
            Plaintiff,                    |    20-06070-SMS
v.                                        |
                                          |
CITIZENS TRUST BANK &                                |
LOANCARE, LLC,                                       |
                                          |
            Defendants.                   |
_________________________________________ |

                           ORDER AUTHORIZING MEDIATION

         The parties to the above-captioned adversary proceeding have expressed a desire to

participate in a mediation of the issues in this proceeding. The Court believes and the parties
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agree that the most productive form of mediation would be to designate a current bankruptcy judge

with no assignment or responsibility for this bankruptcy case as a settlement judge to serve as a

neutral mediator; and it appearing that Bankruptcy Judge Paul W. Bonapfel of this Court is

qualified and suitable to serve as a mediator of this dispute; and for good cause shown, it is hereby

       ORDERED, ADJUDGED, and DECREED as follows:

       1.      The Parties are authorized to mediate the issues raised in this conested matter.

Bankruptcy Judge Paul W. Bonapfel is hereby designated as a settlement judge with regard to this

matter for the purpose of conducting mediation proceedings between the parties as the neutral

mediator. Such mediation shall be conducted at a time and place and in accordance with procedures

mutually agreed upon by the parties and Judge Bonapfel.

       2.      Because Judge Bonapfel will be serving as the neutral mediator in this matter and

because the nature of the mediation process requires ex parte contacts and communications

between the neutral mediator and each side, the prohibitions of Fed. R. Bankr. P. 9003 do not apply

to communications among the parties, their attorneys, and Judge Bonapfel in connection with the

mediation proceedings. The parties and their attorneys may, therefore, have ex parte

communications with Judge Bonapfel in his capacity as the neutral mediator in connection with

the mediation proceedings.

       3.      All communications made by the parties to each other or to Judge Bonapfel in

connection with the mediation process, and any documents prepared or produced in connection

therewith, shall be confidential and shall not be admissible in evidence or the subject of any

discovery in any proceeding (unless admissible or discoverable without regard to the mediation).

The mediation sessions and any conferences or proceedings in connection therewith shall be

treated as compromise negotiations for purposes of the Federal Rules of Evidence, the Georgia
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Rules of Evidence, or any rules of evidence of any other jurisdiction. No record will be made of

the mediation proceedings. Judge Bonapfel is disqualified from appearing as a witness in any

matter, and shall not be called as a witness, with regard to the mediation or any matter arising out

of or related thereto.

        The Clerk’s Office is directed to serve a copy of this Order on the parties in the attached

distribution list.

                                    [END OF DOCUMENT]
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